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UNITED STATES DISTRICT COURT > 9 2018
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CRSTRICTOF MARYLAID
UNITED STATES OF AMERICA,
Plaintiff, Case No. 8:15-CR-0017-GJH
V. USM Number: 58571-037
fore rge |. Hazel
GREGORY COOPER,
Defendant. MOTION FOR EARLY
TERMINATION OF
SUPERVISED RELEASE

 

 

NOW COMES GREGORY COOPER, motioning this Court in propria
persona (pro se) to terminate the imposed term of supervised release, reducing
such to a “time already served” duration. This request is made pursuant to title
18 United States Code §3583(e) and Federal Rules of Criminal Procedure 32.1(c).
Under the same rule of criminal procedure, no hearing is requested in this

matter.

This document complies with Local Rule 102(2), and what follows is a
concise memorandum of case history, points of authority, policy and argument
to justify the request sought herein. It is written in double-spaced, 13-point Book

Antiqua serif font. Proof of service accompanies this document; Rule 102(1)(c).

 
    

Motion: Page |

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1. On November 5, 2015 I was sentenced to 15 months in prison after

 

 

 

pleading guilty to one count of Bribery, a violation of 18 U.S.C. §302(b)(2)
(A). Dkt. Ent. 67. 1 was sentenced to 3 years of supervised release after my
release from Bureau of Prisons (BOP) custody, with mandatory and
standard conditions of release, and the additional conditions that I:

* Participate in substance abuse treatment (completed);

¢ Provide full financial disclosure to the USPO (compliant);

* Refrain from opening new credit lines without the prior approval of

my probation officer (compliant); and,

* Pay off my $100 special assessment (completed).

I was released from custody of the BOP to the jurisdiction of the United
States Probation Office on February 3, 2017. I have now completed 18
months out of the 36 originally ordered. I make this request after learning
that it is my right to file a request for early termination and that I have

been in compliance ever since release.

. Jurisdiction: This Court had and maintains jurisdiction of this case from

pretrial, and now during my supervision phase.

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4. Authority: This Court is granted the authority to terminate a term of
supervised release by 18 U.S.C. §3583(e)(1) which, after considering
specific sentencing factors from §3553(a), allows a district court judge to
“terminate a term of supervised release and discharge the defendant
released at any time after the expiration of one year of supervised release,
pursuant to the provisions of the Federal Rules of Criminal Procedure ... if
it is satisfied that such action is warranted by the conduct of the defendant

released and in the interests of justice.”

5. Paraphrased, the §3553(a) factors that are to be considered for an early

termination request are:

°o

§§(a)(1): The nature and circumstances of the offense;

o

§§(a)(2)(B): To afford deterrence to criminal conduct;

° §§(a)(2)(C): To protect the public from future crimes;

© §§(a)(2)(D): To provide education and job training, provide medical
care or other correctional treatment;

© §§(a)(4): The kinds of sentences available in the guidelines;

© §§(a)(5): In line with relevant policy;

° §§(a)(6): Avoiding unwarranted differences in sentence between

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similar defendants with similar conduct;

° §§(a)(7): To provide restitution to any victims.

6. The applicable Federal Rule of Criminal Procedure is 32.1(c), which allows
for modifications of supervised release. This rule requires a hearing unless
the relief sought is favorable to the defendant and that an Assistant United
States Attorney has received notice of the relief sought and is given

reasonable opportunity to object (Fed R. Crim P (2)(B) & (C)).

7. Committee notes to this procedural rule don't spend much time on
termination requests, but bring up a defendant's right to present
mitigating information when a modification request would be of greater
restriction to the defendant. In this case, I both waive the hearing, and
request that a decision in this matter be made without such a hearing once
the government is given an opportunity to proffer a written objection if it

chooses to do so.

8. Controlling Precedent: “[A] district court enjoys discretion to consider a

wide range of circumstances when determining whether to grant early

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termination.” United States v. Pregent, 190 F.3™, 279, 283 (4° Cir. 1999).
When making a determination of this factor, “[A]t least six circuits have
interpreted § 3583(e)(1) as requiring the district court to consider the
specified § 3553(a) factors, as well as the fact that the Government has not
challenged this interpretation, strongly indicates this interpretation is
correct.” United States v. Mathis-Gardner, No. 14-3031 (D.C. Cir. 2015). See

also Freeman v. United States, 131 S.Ct. 2685, 2691 (2011)

. “The Supreme Court has described supervised release as “the
decompression stage” between prison and full release.” United States v.
Kappes, 782 F.3d 828 (7th Cir. 2015) (Quoting Johnson v. United States, 529
U.S. 694, 709 (2000)). As will be seen below, this decompression stage, and

the further need for supervision, no longer applies in my case.

10. Policy: The relevant section of the Sentencing Guidelines Manual can be
found in §5D1.2. The policy here made a sharp change in 2011 when the
amendments to the manual that year specifically changed this section to

encourage early termination in appropriate cases, rather than in cases

which show “unforeseen circumstances” or “exceptional behavior”.

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11. These two phrases are used a lot to dissuade district courts from granting
early termination requests where defendants have demonstrated no
further need for supervision. They come from an opinion from the Second
Circuit in United States v. Lussier, 104 F.3d 32 (2"° Cir. 1997), and since the
2011 changes to the guidelines manual, policy has shifted away from this

arbitrary and high bar.

12. “The guidelines encourage . . . [courts] to exercise this authority in
appropriate cases, particularly noting that a court may impose a longer
term of supervised release on a defendant with a drug, alcohol or other
addiction, but may then terminate the supervised release term early when
a defendant successfully completes a treatment program, thereby reducing
the risk to the public from further crimes of the defendant.”* U.S.S.G.

§5D1.2 cmt. n. 5 (Internal quotations omitted).

13. Probationary policy in regards to recommending early termination in
supervised release cases comes from Monograph 109”. In tandem with the

1 From “Primer: Supervised Release” (Office of General Counsel, United States Sentencing Commission; 2015).
Available at: https://www.ussc. gov/sites/default/files/pdf/training/primers/2015_Primer_Supervised_Release.pdf
2 Guide to Judiciary Policy, Volume 8, Part E: Supervision of Federal Offenders (Monograph 109)

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Sentencing Guidelines Manual notes in §5D1.2, Probation Monograph 109
informs probation officers that they “should consider the suitability of

early termination for offenders as soon as they are statutorily eligible.”

14. When making this determination, the 9 general criteria for making a
recommendation to the court for early termination are found in section

§380.10(b):

(1) Stable community reintegration;

(2) Progressive strides toward supervision objectives and in compliance
with all conditions of supervision;

(3) No aggravated role in the offense of conviction, particularly large drug
or fraud offenses;

(4) No history of violence;

(5) No recent arrests or convictions;

(6) No recent evidence of alcohol or drug abuse;

(7) No recent psychiatric episodes;

(8) No identifiable risk to the safety of any identifiable victim; and,

(9) No identifiable risk to public safety based on the Risk Prediction

Index.”

15. Later in that same section it states that the existence of outstanding

financial obligations per se does not adversely affect early termination

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eligibility (§§c), and failure to meet criteria listed should not automatically
exclude an offender from further consideration (§§d), and there is a_
presumption in favor of recommending early termination for probationers
and supervised releasees who have been supervised for at least 18 months
and are not violent, drug, sex offenders, terrorists, present a risk to public

or victims, and are free from any moderate or higher violations.

16. Argument: Of all the sentencing factors from §3553(a) that are considered
at original judgment, one is conspicuously missing from the list in §3583(e)
(1): “the need to reflect the seriousness of the offense, to promote respect
for the law, and to provide just punishment for the offense.”*® That means
that supervised release is not part of the punishment phase of a judgment,
but serves other intentions of sentencing. This is evinced by the clarity
given by the sentencing commission in §5D1.2, citing rehabilitation

completion as a valid reason for terminating a term of supervision early.

17, The Supreme Court clarified this in Johnson V. United States, 529 U.S. 694,

709 (2000), when supervised release was described as the “decompression

stage” of a judgment. See also United States v. Kappes, 782 F.3d 828 (7 Cir.

3 18 U.S.C. §3553(a)(2)(A)

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2015). If, then, the transition or decompression from incarceration, and
there are no other goals of supervision (or special conditions of |
supervision) left to achieve, then the purpose of supervision has been
exhausted and early termination is warranted. The interests of justice are
served, by statutory definition and precedent, by early release in these

situation.

18. Regarding §3553(a)(2)(B) & (C), Iam of low risk to re-offend. Not only am
I committed to a life free of criminal conduct, prosecution, and
incarceration, but there are statistics beyond the USPO risk-assessment tool
that points to this conclusion. Beyond criminal history categories, criminal-
history points themselves are an excellent indicator of the risk of
recidivism and re-arrest. A 2017 study published by the Sentencing
Commission concludes, specifically, offenders with zero criminal history
points and no prior contact with the criminal justice system, “there is an
11.7 percentage point difference [lower] in rearrest rates...” compared toa
zero-point offender with prior contact with criminal justice Zero-point
offenders show a much lower re-conviction rate (17.4%), almost 4x less

likely than an offender with 15+ points (66.2%)* I was sentenced with zero

4 The Past Predicts the Future: Criminal History and Recidivism of Federal Offenders ; United States Sentencing

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Criminal History Points and a Criminal History Category of I, placing me

in the category of offenders who have the lowest risk of recidivism.

19. Second, the effect of early termination, as requested in this motion,
reduces my likelihood to recidivate. A recent recidivism study by the
AOUSC-OPPS examined a cohort of offenders whose supervision terms
expired or were terminated early in fiscal year 2005. The study found that
during the 36-month follow-up period, "offenders granted early
termination do not pose a greater safety risk to the community" than
offenders who successfully served the entire supervised release term
imposed by the sentencing court. “In fact, early-term offenders in this
study presented a lower risk of recidivism than their full-term
counterparts. Not only were early-term offenders charged with a new
criminal offense at a lower rate than full-term offenders, they were charged

with proportionally fewer felonies...”°

20. Finally the Sentencing Commission and released in a 2016 report shows

that, in terms of the age of released offenders, I am in the lowest likelihood

Commission, 2017, available at [http://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-
publications/2017/20170309_ Recidivism-CH.pdf}

5 See James L. Johnson, Are Early Terminated Offenders a Greater Risk to the Community? NEWS AND VIEWS,
Vol. XXXV, No. 2, at 1 Jan 18, 2010). Published by AOUSC-OPPS

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of any offender category or of any metric to return to prison. Offenders
over 60 at sentencing are shown to have a reincarceration rate of 5.7%, and
offenders over 60 at the time of their release are marginally higher at 6.6%.
Numerous studies show that age is one of the most reliable predictors of
recidivism rates. Nationally, prisoners between the ages of 18 and 29
experience a recidivism rate of over 50%, while those 55 or older
experience a rate of only 2%.”° At 62 years old, I am the lowest threat to

society of any released offender.’

21. lam gainfully employed as an vehicle transport driver for U.S. Upfitters,
transporting vehicles to and from locations within Maryland and
sometimes Virginia (with USPO permission each time). The only time my
supervising officer has necessitated that I notify work I do with U.S.
Upfitters is when I need to go onto a military base, as the gate guards will
run my name in several databases. I've had multiple employers since my
release, one of which actually had strict security clearance guidelines
which I was granted; a source of pride given my conviction.

6 US. Department of Justice Bureau of Just ice Statistics, Trends in State Parole, 1999 — 2000,
7 Recidivism Among Federal Offenders: A Comprehensive Overview, Appendix A-3. (United States Sentencing

Commission, 2016). Available at: hitp://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-
publications/201 6/recidivism_overview.pdf

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22. I have no educational or vocational needs that probation could help with.
I also do not have any medical or housing concerns that would make
further supervision necessary. Thus, §3553(a)(2)(D) weighs in favor of this

request.

23. Asa Class C/D felony, 3 years is the maximum term of supervision
available to ensure compliance and recidivism reduction. The Sentencing
Commission is clear in it's recommendation toward maximal terms of
supervision with the option of early release for former offenders who don't
need the entirety of their supervision term. Since I've completed more than
one year (in fact, 1.5 years) and am under the three year maximum, I fall
squarely within the applicable ranges set by statute and policy. These
ranges are reflected in policy in U.S.S.G. 5D1.2(a)(2). Thus §3553(a)(4) & (5)

weigh in my favor.

24. To stay in line with sentencing decisions in similar cases with similar
defendants, §3553(a)(6) addresses the need to avoid unwarranted
disparities between cases with such similarities. In regards to my request

here, other cases where early termination requests have been granted are

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of particular applicable. See United States v. Folan, No. 9:15-TP-80032-
DMM-1 (FLSD, 2017 release) where defendant Folan was terminated after
serving half of his 5 year term of supervision for his conviction of Mail and
Wire Fraud. While Folan's case is not a directly equatable white-collar

crime, it is in a similar financial genre.

25. See also United States v. Abbate, No. 3:16-CR-0201-1 (TNMD, 2017 release)
where, similarly, defendant Abbate was convicted on one count of Theft
Concerning Programs Receiving Federal Funds, was sentenced to 3 years
of supervision, and was discharged after serving half of that term of
supervision with an outstanding restitution balance of over $6MM. These

two cases together weigh §§(a)(6) in my favor.

26. A look at the Monograph 109 test for the USPO to consider
recommendations on requests for early termination of supervised release
addresses many of the same issues from §3553, but from a more

integration related standpoint.

27. Insofar as my probation officers are concerned, I have spoken to both of

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them concerning my interest in requesting early termination of supervised
release. Neither officer has expressed any objections to my intentions once

I reached my 18-month point. Thus, I am filing this now, pro se.

28. I pose no risk of danger to any victims in my case and I am of no risk to
public safety, although probation's Risk Prediction Index is not at my

disposal to comment on this particular scoring method.

29. There is a separate reason, rather than a simple desire to be done with this
case, that I am pursuing this request. First is that supervision is now,
instead of being helpful to my full integration into free society, is holding
me back. Supervision, in and of itself, now prevents me from moving
forward with work. In the beginning of my supervision, I was able to work
as a driver for the airport here. However, federal policy changed within
the Maryland Aviation Administration and my security clearance was
removed because of my supervision. I would have better paying and more
secure work if I were off of supervision. I have lost two separate jobs

because of this policy change.

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CONCLUSION
Considering the cost of supervision, and based upon the reasons and
factors discussed in this motion, I respectfully request that this Court terminate

the remainder of my term of supervised release.

Cc
Respectfully submitted on this 7 day of A. ovcu 2018.

/s/ SS C

GREGORY COOPER
Pro Se Defendant, Movant

 

 

 

 

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AUG - 9 2018
CERTIFICATE OF SERVICE -
FOR PRO SE DOCUMENTS Gtiemcua. oetteny count
DISTRICT OF MARYLAND

I, GREGORY COOPER, do hereby certify that I have served a true and correct copy of
the following document,

MOTION TO TERMINATE DEFENDANT'S SUPERVISED RELEASE TERM

upon the court and the office of the United States Attomey:

Mark John Cipolletti Clerk of the U.S. District Court
United States Department of Justice District of Maryland - Greenbelt
Criminal Division, Public Integrity Section 6500 Cherrywood Lane

1400 New York Ave NW Greenbelt, MD 20770

Suite 12100
Washington, DC 20530

by placing it in a sealed, postage prepaid envelope by United States Postal Mail

onthe "2 dayof_ Avgoxe”_ 2018,

Za la

GREGORY COOPER
Pro Se Movant
